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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

JOCELYN MAMMEN,            )
                           )
          Plaintiff,       )                    Case No.: 0:18-cv-00640-WMW-BRT
                           )
     v.                    )                    STIPULATION TO DISMISS
                           )                    WITHOUT PREJUDICE
HARTFORD LIFE AND ACCIDENT )
INSURANCE COMPANY; TARGET )
CORPORATION – LTD RESERVE )
BUY-OUT, PLAN/PLAN         )
ADMINISTRATOR,             )
                           )
          Defendant.       )


      Plaintiff, Jocelyn Mammen, and Defendant, Hartford Life and Accident Insurance

Company (“Hartford”), by and through their respective counsel, pursuant to Rule

41(a)(1)(A), hereby notify the Court that the proper Defendant in this matter is Hartford

only, as Hartford fully insures the Plan at issue. Therefore, the Parties stipulate to the

dismissal, without prejudice, of Defendant Target Corporation – LTD Reserve Buy-Out,

Plan/Plan Administrator.

Dated: March 29, 2018.                          HUHTA LAW FIRM, PLLC

                                                s/Adam S. Huhta
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                                 HELLMUTH & JOHNSON, PLLC

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